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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                          :
CHRISTOPHER HARRIS,                       :                 CIVIL ACTION
                                          :
                  Plaintiff,              :
                                          :                 No. 18-1475
            v.                            :
                                          :
OFFICER LESKO, et al.                     :
                                          :
                  Defendants.             :
__________________________________________:


                                            ORDER

       AND NOW, this 13th day of June, 2018, it having been reported, during a June 12, 2018,

hearing, that the issues between the parties in the above action have been settled and pursuant to

Local Rule of Civil Procedure 41.1(b), it is hereby ORDERED that the above action is

DISMISSED pursuant to agreement of the parties without costs.



                                                    BY THE COURT:

                                                    /s/ Mitchell S. Goldberg

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                                                    MITCHELL S. GOLDBERG, J.
